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  8                            UNITED STATES DISTRICT COURT

  9                           CENTRAL DISTRICT OF CALIFORNIA

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 11    DAVID KAVANDI,                         Case No. CV 19-1252-CAS(AS)

 12                         Plaintiff,        ORDER ACCEPTING FINDINGS,
 13             v.                            CONCLUSIONS, AND
 14    ANDREW M. SAUL, Commissioner           RECOMMENDATIONS OF UNITED
       of Social Security,1
 15                                           STATES MAGISTRATE JUDGE
                            Defendant.
 16

 17
            Pursuant to 28 U.S.C. § 636, the Court has reviewed the
 18
      Complaint, all the records herein, and the attached Report and
 19
      Recommendation of United States Magistrate Judge.             After having
 20
      made a de novo determination of the portions of the Report and
 21
      Recommendation to which Objections were directed, the Court concurs
 22
      with and accepts the findings and conclusions of the Magistrate
 23
      Judge.         However, the Court addresses Plaintiff’s Objections below.
 24

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            1   Andrew M. Saul, Commissioner of Social Security, is
 27   substituted for his predecessor. See 42 U.S.C. § 405(g); Fed. R.
      Civ. P. 25(d).
 28
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  1         Plaintiff, who is proceeding pro se, contends that he never
  2   received notice of the change of his disability onset date and that
  3   he would have acted “on it immediately” if he had received such
  4   notice.    (Dkt. No. 29 (“Objections”) at 1).2        As discussed in the
  5   Report and Recommendation, Plaintiff’s dispute regarding notice of
  6   the amendment of his disability onset date is with his attorney
  7   and not the Commissioner, given Plaintiff’s acknowledgement that
  8   the agency received a written request from Plaintiff’s counsel to
  9   amend his alleged onset date. (Docket No. 28 at 9 n.2).              In any
 10   event, Plaintiff did not dispute that he timely received a copy of
 11   the Notice of Decision or the Notice of Award, both of which were
 12   mailed to his home address and informed him that his onset date
 13   had been amended, he would not be receiving any past-due benefits,
 14   and that any request for review must be submitted within 60 days.
 15   (Docket No. 28 at 8-9).      Because these documents clearly explained
 16   Plaintiff’s entitlement to benefits and the need to timely request
 17   review, the Appeals Council properly acted within its discretion
 18   in finding that Plaintiff had failed to establish good cause for
 19   his untimely request for review. Id., at 10.
 20

 21         Plaintiff also submitted a letter, dated February 27, 2020,
 22   from a social worker regarding his need for emotional support
 23   animals to assist with his disability, a list of his medications,
 24   and a copy of a handicap placard that has been issued to him. (Dkt.
 25   No. 29 (“Objections”) at 2-4).           However, these records are not
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 27         2   The Court cites to the Objections and its exhibits as if
      they were consecutively paginated.
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  1   material to the Appeals Council’s decision to dismiss Plaintiff’s
  2   untimely appeal.      Mayes v. Massanari, 276 F.3d 453, 462 (9th Cir.
  3   2001) (the new evidence must bear “directly and substantially on
  4   the matter” at issue, and there must be a “reasonable possibility
  5   that the new evidence would have changed the outcome of the
  6   administrative hearing.”)(citations omitted).
  7

  8           IT IS ORDERED that Judgment shall be entered granting the
  9   Commissioner’s motion for summary judgment, affirming the decision
 10   of the Commissioner, and dismissing this action with prejudice.
 11

 12           IT IS FURTHER ORDERED that the Clerk serve copies of this
 13   Order    and   the   Judgment   herein   on   Plaintiff   and   counsel    for
 14   Defendant.
 15
              LET JUDGMENT BE ENTERED ACCORDINGLY.
 16

 17
      DATED: June 29, 2020
 18

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                                               ___________    __________ ___
 20                                                  CHRISTINA A. SNYDER
                                                UNITED STATES DISTRICT JUDGE
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